{¶ 28} I respectfully dissent because the trial court erred in finding that permanent custody was in the best interests of these children. B.C. and A.C. are older children who have long-term bonds with their parents, as well as with each other and one of their older siblings, and they have consistently expressed their wishes to be reunited with their family. A stable, permanent home preserving these bonds would be in their best interests. No evidence was presented that anyone is interested in adopting these children and the likelihood of the siblings being adopted into the same family are slim. Considering the ages of the children, their expressed desires, the lack of an adoptive placement, and Father's significant progress on the reunification goals of the case plan, the best interests of the children necessitated a six-month extension of temporary custody. *Page 1 